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                IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             PENSACOLA DIVISION

UNITED STATES OF AMERICA


vs.                                                          3:07cr58/MCR/MD
                                                             3:10cv201/MCR/MD

DAVID LEE SCHIMMEL


                         REPORT AND RECOMMENDATION

       This matter is before the court upon defendant’s motion to vacate, set aside,
or correct sentence pursuant to 28 U.S.C. § 2255 (doc. 246). The government has
filed a motion to dismiss the motion as untimely (doc. 257) and the defendant has
responded (doc. 259). The court held an evidentiary hearing on February 15, 2011,
and counsel for the defendant subsequently filed a “Notice of Correction of Cited
Authority,” which appears on the electronic docket as a “trial brief.” (Doc. 283).


                     FACTUAL BACKGROUND and EVIDENCE
       Defendant David Lee Schimmel was convicted after a jury trial of conspiracy
to possess with intent to distribute 5 kilograms or more of cocaine and 1000
kilograms or more of marijuana in violation of 21 U.S.C. § 846. He was sentenced to
a term of life imprisonment. He appealed, and his conviction and sentence were
affirmed on January 30, 2009. The mandate issued on March 3, 2009. (Doc. 193). He
did not file a petition for writ of certiorari, and the time for doing so elapsed on June
1, 2009.
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        Defendant filed a motion to vacate, set aside or correct sentence that was
received by the clerk on June 8, 2010. (Doc. 246). Because the court recognized that
the timeliness of the motion might be at issue, it reviewed the motion and noted that
the date the defendant purportedly signed his § 2255, April 13, 2010, was nearly two
months prior to the date it was received by the clerk. The court therefore entered an
order directing the defendant to explain the seeming discrepancy, if he could. (Doc.
248). Defendant submitted a statement in which he again stated, under oath, that he
had turned in the motion for mailing on April 13, 2010.1 (Doc. 250 at 3, 4). Based on
the defendant’s assertion, the court directed the clerk to serve the motion. (Doc.
256).
        The government moved to dismiss the defendant’s motion as untimely and
requested an evidentiary hearing. (Doc. 257). The defendant responded, and he
indicated that he would stand by his declaration and certificate of service. (Doc. 259
at 2). The court scheduled an evidentiary hearing and appointed the office of the
Federal Public Defender to represent the defendant. (Doc. 260). Before the hearing,
attorney Albert Oram filed a motion to continue and various discovery motions.
(Doc. 263, 264, 272, 273, 275). The court initially allowed some discovery, but when
the defendant made a second request for discovery it denied the request, reasoning
that based upon the record and the position taken by the defendant thus far, the
issue was actually limited to the date the defendant filed his motion pursuant to the
prison mailbox rule. (Doc. 281 at 2). In light of the defendant’s unwavering position
in his sworn submissions to the court that he presenting his motion to prison
authorities for mailing on April 13, 2010 the matters sought to be discovered were
irrelevant. (Doc. 281).




        1
         Defendant further stated in his statement that this was 17 days before the deadline for filing the
motion. (Doc. 250 at 3).

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        At the hearing conducted on February 15, 2011, the government called two
witnesses. The first witness was Craig Thomas, corrections systems officer at
Pollack, whose job includes processing incoming and outgoing mail for the whole
institution. When asked about the mail procedures at the institution, Mr. Thomas
explained that ordinary inmate mail was dropped in drop boxes in each housing unit.
Mail that was placed there would be mailed the next morning when staff went to the
post office. Alternatively, inmates could bring the mail to staff between 6:00 and
7:30 a.m. After verifying the inmate’s identification card, the staff would put a date
on the outgoing mail and it would be taken to the post office. Mr. Thomas explained
that only mail identified as legal mail was dated, and only certified mail was recorded
in a log.
        The witness identified government’s exhibit one as part of a mail log which
reflected mail that was received from the defendant for mailing on November 16,
2009. Mr. Thomas explained that when the prisoner brings an item for certified
mailing, the back of the envelope is stamped and he helps the inmates fill out the
certified mail slip. The next day the inmate gets the slip back, which shows proof
that the item was mailed.             The mailboxes in the housing unit are for general
correspondence. If inmates have a piece of “special mail” going to the courts, they
have to bring it to the appropriate staff who will turn it over and stamp it with the
date. Otherwise it is just considered general correspondence. General mail is pulled
from the housing unit mail boxes by the overnight officers. It is inspected and
sealed and placed into the bag for the housing unit. This goes up to the central mail
location at 5 a.m. Because it has already been inspected, it goes to the post office
the same day. The general mail is pulled every morning through the week, but Mr.
Thomas indicated that his office is closed on the weekend, so any mail deposited on
Friday, Saturday or Sunday would not go out until the following Monday.
        The AUSA showed Mr. Thomas government’s exhibit 2, which was a copy of
the envelope in clerk’s file attached to document 246, the 2255 bearing a postmark
of June 7, 2010, which was a Monday. Mr. Thomas stated that he had not seen the
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exhibit previously, but testified that based on the procedures then in place, the
earliest that the envelope could have been placed in the prison mail system was
Friday, June 4, 2010. If defendant had mailed the envelope on that Friday it would
not have been mailed until the following Monday.
        On cross examination Mr. Thomas testified that he had no personal knowledge
of the envelope being mailed or of Mr. Schimmel’s circumstances. He reiterated that
a log is kept for certified mail, and that while no other mail has a log, “special mail”
is turned over and date stamped.
        Mr. Thomas acknowledged that Pollack is a high security facility and has been
in lockdown frequently. When asked about violence at the institution, he estimated
that there had been probably ten murders since 2000, but said he could not recall if
one took place between March 2009 and June 2010. He conceded that defendant’s
exhibit 4 reported that a murder had occurred in January of 2010 and that the
inmates were on lookdown at that time.         The mailboxes for general mail are
inaccessible to inmates during lockdowns. Therefore, during a lockdown, Thomas
explained that inmates must put their outgoing mail through a slot in their cell door.
The night officer retrieves it, inspects it, and puts it in the mail. Thomas calls the
units during lockdown to see whether there is any special mail that needs to be
picked up and processed separately, which he does rather than returning the mail
to the inmate. Defense counsel asked whether the defendant’s § 2255 could have
been delivered to someone else earlier than the postmark date and Thomas said that
no, if it had been delivered to staff earlier it would have been postmarked earlier.
        On re-direct Mr. Thomas testified that the mail would not spend days in the
review process, that an officer would merely read the envelope and scan its
contents. He also explained that even during times of lockdown, the prisoners are
not prevented from sending mail. He has to walk around and collect the mail, but
otherwise, the procedures are the same. Mailing special mail still requires that the
envelope be sealed and the inmate show identification in order to mail it. Thomas
examined government’s exhibit 2, the envelope carrying defendant’s § 2255 motion,
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and stated because it did not have a date stamp on it, it went out through the
housing unit as general correspondence.
        The next witness was Gordon Lewis, a Special Investigative Agent at FCC
Pollack who heads the entire investigation department. He testified that his office
becomes involved whenever a prisoner comes under investigation, whether it is an
external or internal investigation. When asked what effect an investigation had on
an inmate’s ability to send mail, he stated that it depended on the offense. If the
alleged offense involved a threat, the inmate would be subjected to mail monitoring.
Under this condition, the inmate’s mail would be picked up in the morning, reviewed,
and sent out in the afternoon, so there was no delay in the mail process.
        On cross-examination, Mr. Lewis stated that he had no personal knowledge
of any investigations of defendant Schimmel. He conceded that human error is a
possibility in the handling of mail. When asked whether mail could be kept for
several days, he responded that such an occurrence was not error, that would be
misconduct.
        At the conclusion of Mr. Lewis’s testimony, the defendant stated that he had
no evidence to present. Defense counsel then moved to dismiss the government’s
motion, arguing that the government bears the burden to produce evidence to show
the date the motion was mailed, and it had failed to do so. Washington v. United
States, 243 F.3d 1299 (11th Cir. 2001) (citing Harvey v. Vaughan, 993 F.2d 776, 781
(11th Cir. 1993)). In response, the government did not dispute that it had the burden
of proof. It argued that based on the evidence presented about how the mail is
handled and the specific procedures for mailing general and special mail, the date
of actual mailing was narrowed down to June 4, 5 or 6. This court orally denied the
motion to dismiss the government’s motion, finding that the testimony established
that based on procedures followed in the ordinary course of business, the
government had established by a preponderance of the evidence that the mail had
to have been placed in the prison mail system no earlier than June 4, 2010,
regardless of the date on the defendant’s motion. It further found that because the
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envelope in question was mailed through the general mail, there existed no specific
record with respect to that piece of mail, although there were procedures in place,
of which the defendant had availed himself on at least one other occasion, to create
a record of when the motion was given to prison authorities for mailing. Thus the
government could not be faulted for its failure to provide specific proof of the date
of mailing, when it was defendant’s choice of how he mailed his document that
created this lack of record in the first place. The court then alluded to the matters
raised in the discovery motion with respect to the issue of equitable tolling and
pointedly noted that in order to do equity, the one seeking equity cannot come
forward with unclean hands.
        Based on the court’s ruling, after consultation with his client, defense counsel
moved to re-open the evidence so the defendant could testify.            Although not
obligated to do so, the court allowed the evidence to be re-opened to see if
defendant could shed additional light on the matter.
        Defendant testified that he is currently housed at USP Pollock, which is a high
security facility.       He stated that it is a hostile environment, where inmates are
housed in 2 man cells, with 120 cells per unit and 2 units on the compound.
Defendant said he filed his § 2255 motion after one and a half years of spending 4
to 8 hours per day in the law library. He stated that while his case was on appeal,
his appellate counsel did not return his calls, but sent him a copy of the appellate
brief, rebuttal and reply after they were filed. The defendant opined that they were
far from adequate, so even before his conviction was affirmed he started researching
to file his § 2255. He did this by going to the law library and using Lexis/Nexis and
word processing. He explained that inmates can be issued a single screen word
processor to take back to their cells because they are not permitted to save anything
on the computers at the law library. The word processors are issued for sixty days
at a time, but he was able to keep it the whole time he was working on this by
renewing his request after the time period expired. Defendant testified that he could
not go to the law library every day because the institution was frequently on
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lookdown. He estimated that he was on lookdown for two months during the first
half of 2010. He stated that he finished preparing the § 2255 motion in late February
or early March, but does not remember a specific date. He explained that in order
to print his fourteen page motion, he had to take the word processor to the computer
lab, request a USB cable to download and format the document, format one page
at a time, and obtain a copy card to for printing. According to the defendant, this
process took about 1-2 days per page because he only was permitted 1 ½ - 2 hours
in the lab at a time. After printing he had to purchase stamps and purchase an
envelope. He estimated that he printed the motion at the end of March or first week
of April, after which he had to go somewhere else on the compound to make copies.
Again he stated that this process took more than a day, and probably took him until
approximately late March or early April. Defendant acknowledged that the motion
was dated on April 13, but he appeared to hesitate and could not recall which day he
actually signed it, but probably a couple days before. When asked why he signed
it “a couple days before,” he said that the declaration was not he last page he
prepared because of the format, and that he had planned on mailing it the 13th or 14th
of the following week. Defendant repeatedly stated that the pages of the motion
were not printed in sequence.
        Defendant testified that he did not take the motion to the mailroom, that he slid
it under the door while on lookdown. Again, he was very equivocal or even evasive
about when this happened, and despite the certificate of service on the motion, says
that he does not remember exactly when this was. Defendant testified that he
thought he had to mail the §2255 by mid-May, but he was not sure of the exact
deadline.
        Defendant also testified about how there are sometimes delays in the receipt
of mail. He noted that an order from this court took nine days to arrive, and the
defense introduced exhibit 3, an inmate request form which verified that defendant
had not received a court order dated October 26, 2010 until November 4, 2010, eight
days later.
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        On cross examination defendant testified that he had “no other choice” but
to put the § 2255 in the general mail because he was unaware that he could ask for
legal mail to be sent thru legal mail channels during a lockdown, even though he had
used these procedures at least one other time.2                    Defendant said he had never
experienced legal mail being sent or certified while on lookdown, but he did not say
he ever inquired about this. In contradiction to the sworn certificate of service on
the motion, he stated that he signed the motion “a couple days before” April 13 and
provided it to prison authorities for mailing a couple of days before that date as well.
Subsequently he had his mother call the court to see if it had been received. When
asked what he did when he found out that the court had not received his motion by
June 1, 2010, he denied having been made aware of that. He claimed he did not learn
the date it was filed until he got the order asking him to clarify the discrepancy
between the certificate of service and the postmark. He conceded that because he
did not use the legal or special mail procedure, the only evidence that the petition
was filed timely is his own testimony. The defendant said he tried through discovery
to get his emails and phone records to show his concern about the timeliness of his
motion.


                                              ANALYSIS
        Title 28 U.S.C. § 2255(f) imposes a one year time limitation on the filing of
motions under this section. The one year period of time runs from the latest of:
                (1) the date on which the judgment of conviction becomes
                final;
                (2) the date on which the impediment to making a motion
                created by governmental action in violation of the
                Constitution or laws of the United States is removed, if the
                petitioner was prevented from making a motion by such
                governmental action;

        2
          In November of 2009, defendant filed a motion with the court asking the court to direct the court
reporter to prepare transcripts. (Doc. 217). He explained that he sent this via the legal mail procedures
because the court reporter had not responded to his previous requests.

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                (3) the date on which the right asserted was initially
                recognized by the Supreme Court, if that right has been
                newly recognized by the Supreme Court and made
                retroactively applicable to cases on collateral review; or
                (4) the date on which the facts supporting the claim or
                claims presented could have been discovered through the
                exercise of due diligence.

28 U.S.C. §2255. The mandate in defendant’s case issued on March 3, 2009. In
cases where a defendant has appealed, the judgment of conviction becomes final
within the meaning of § 2255 as follows: (1) if the prisoner files a timely petition for
certiorari, the judgment becomes “final” on the date on which the Supreme Court
issues a decision on the merits or denies certiorari, or (2) the judgment becomes
final on the date on which the defendant’s time for filing such a petition expires, ie.
ninety days after the court of appeals judgment becomes final. Clay v. United States,
527 U.S. 522, 123 S.Ct. 1072, 155 L.Ed.2d 88 (2003); Kaufmann v. United States, 282
F.3d 1336, 1338 (11th Cir. 2002). In this case, the parties do not dispute that in order
to have been timely filed, defendant must have filed his motion on or before June 1,
2010. The goal of the evidentiary hearing was to resolve the discrepancy between
the certificate of service dated April 13, 2010, and the June 7, 2010 postmark on the
envelope carrying defendant’s motion.
        The defendant was an intelligent and articulate witness.             His detailed
testimony about the time and effort he put into preparing his § 2255 has some
persuasive value with respect to his intent to timely file the motion. However, his
demeanor and the form of his answers changed markedly during questioning about
the specifics of how and when the motion was signed and filed. He was hesitant and
seemed evasive. He ultimately admitted on at least two occasions, however, that the
date in the certificate of service was false, despite his previous sworn statements
to the contrary. Defendant’s attempt to excuse this misrepresentation by saying
that the certificate of service was not the last page he printed in the motion is
nonsensical. There is no reason for the form bearing an incorrect date. The typed


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portion of the declaration and certificate of service both bore the date of “April,
2010" and included a space in which to write the specific day. Regardless of when
the form was printed, defendant could have inserted the accurate date at the time of
mailing, striking out the word “April,” if appropriate. Instead, defendant handwrote
“13th” in each space and signed his name in three places.
        The court does not find credible defendant’s claim that he did not know that
he could send “legal mail” during lockdown. His initial decision not to testify
coupled with his unwillingness or inability to directly and unequivocally state under
oath that he presented the motion to prison authorities for mailing on the date it was
signed or to convincingly describe the circumstances under which he did so renders
his credibility extremely suspect. The defense’s attack on the government’s failure
to introduce prison logs to show when the document was mailed ignores the fact
that it was defendant’s choice to mail the document in such a way that it was not
recorded on any prison log. Defendant previously used certified mail to send
communication to the court regarding transcripts. If defies reason to suggest that
he would not have taken the same precaution with respect to his § 2255 motion or
at least verified that it had been received by the court. Defense counsel argued that
there was nothing to show that the motion was not timely filed. The circumstantial
evidence presented by the government’s witnesses about when the motion had to
have been presented to prison authorities for mailing was far more convincing that
the defendant’s admittedly perjured statement about when he signed the declaration
on the § 2255 motion.
        Unless defendant establishes his entitlement to equitable tolling, his motion
is time barred. Jones v. United States, 304 F.3d 1035, 1038 (11th Cir. 2002) (citing
Akins v. United States, 204 F.3d 1086, 1089 (11th Cir. 2000)).    Equitable tolling is
appropriate when a § 2255 motion is untimely because of “extraordinary
circumstances that are both beyond [the defendant’s] control and unavoidable even
with diligence.” Johnson v. United States, 340 F.3d 1219, 1226 (11th Cir. 2003) (citing
Drew v. Dep’t of Corr., 297 F.3d 1278, 1286 (11th Cir. 2002); Sandvik v. United States,
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177 F.3d 1269, 1271 (11th Cir. 1999)).       It only applies in “truly extraordinary
circumstances.” Johnson, 340 F.3d at 1226 (citing Jones v. United States, 304 F.3d
1035, 1039-40; Drew, 297 F.3d at 1286). The onus is on the defendant to show that
he is entitled to this extraordinary relief. Johnson, 340 F.3d at 1226, Jones, 304 F.3d
at 1040. The court will not relieve a petitioner who has sat upon his rights. United
States v. Cicero, 214 F.3d 199, 203 (D.C. Cir. 2000) (citing Coleman v. Johnson, 184
F.3d 398, 402-03 (5th Cir. 1999)); see also United States v. Cicero, 214 F.3d 199, 203
(D.C. Cir. 2000) (“ignorance of the law or unfamiliarity with the legal process will not
excuse his untimely filing, nor will a lack of representation during the applicable
filing period”); Gibson v. Klinger, 232 F.3d 799, 808 (10th Cir. 2000). See Cross-Bey
v. Gammon, 322 F.3d 1012, 1015 (8th Cir. 2003) (“[E]ven in the case of an
unrepresented prisoner alleging a lack of legal knowledge or legal resources,
equitable tolling has not been warranted.” (quotation marks omitted)); United States
v. Riggs, 314 F.3d 796, 799 (5th Cir. 2002) (“[A] petitioner's own ignorance or mistake
does not warrant equitable tolling....”); Delaney v. Matesanz, 264 F.3d 7, 15 (1st Cir.
2001) (rejecting the argument that a pro se prisoner's ignorance of the law warranted
equitable tolling); Marsh v. Soares, 223 F.3d 1217, 1220 (10th Cir. 2000) (same). As
noted by this court at the evidentiary hearing, under the “unclean hands” doctrine,
“he who comes into equity must come with clean hands.” Precision Instrument Mfg
Co. V. Automotive Maint. Mach. Co., 324 U.S. 806, 814-815 (1945). The court finds no
basis for equitable tolling in light of the defendant’s lack of candor with the court
and his admitted falsification of the date on which he signed the declaration and
certificate of service.


        Accordingly, it is respectfully RECOMMENDED:
        The government’s motion to dismiss (doc. 257) be GRANTED and that the
defendant’s motion to vacate, set aside or correct sentence pursuant to 28 U.S.C. §
2255 (doc. 246) be DISMISSED as untimely.


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        At Pensacola, Florida, this 22nd day of March, 2011.




                                          /s/   Miles Davis
                                                MILES DAVIS
                                                UNITED STATES MAGISTRATE JUDGE



                                     NOTICE TO THE PARTIES

       Any objections to these proposed findings and recommendations must be
filed within fourteen days after being served a copy hereof. Any different deadline
that may appear on the electronic docket is for the court’s internal use only, and
does not control. A copy of any objections shall be served upon any other parties.
Failure to object may limit the scope of appellate review of factual findings. See 28
U.S.C. § 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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